
In re Thomas &amp; Betts Corporation; Power &amp; Control Systems Inc.; Power &amp; Control Systems International Inc.; Manpower International Inc.; MEI Corporation; MEI Contractors Inc.; Merit Electrical &amp; Instrumentation Inc.; Excel Group Inc.; Excel Analytical Services Inc.; Schweitzer Engineering Laboratories Inc.; — Other(s); Applying for Supervisory and/or Remedial Writs, Parish of St. James, 23rd Judicial District Court Div. D, Nos. 25,975 et ah; to the Court of Appeal, Fifth Circuit, No. Ol-C-37.
Denied.
CIACCIO, J., recused.
